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(Geaamy /CIRCUIT) COURT OF TENNESSEE
140 ADAMS AVENUE MEMPHIS, TENNESSEE 38103
FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPHIS

 

 

 

 

 

 

 

 

 

 

 

 

SUMMONS IN CIVIL ACTION

no. cr. CO1V4 4) AD DAMNUM $ AUTO CJ] OTHER

ALICE C. ALLEN
Home Address
vs. PLAINTIFF Business Address
VALERO ENERGY CORP., TPI PETROLEUM,
- —--INC.,. MICHIGAN REUTILIZATION, LLC, and en ... Home Address
PREMIER OIL COMPANY, LLC
DEFENDANT Business Address
TO THE DEFENDANT(S),. VALERO ENERGY CORP. via its Registered Agent, The Corporation Trust Company
1209 Orange Street SERVE THROUGH SECRETARY OF STATE

 

Wilmington, Delaware 19801-1120

You are hereby summoned and required to defend a civil action by filing your answer with the Clerk of the Court and

serving a copy of your answer to the Complaint on John McQuiston, Evans & Petree, PC Plaintiff's

attorney, whose address is ___!000 Ridgeway Loop Rd., Ste. 200, Memphis, TN 38120 , telephone (901) 525-6781 within

THIRTY (30 ) DAYS after this summons has been served upon you, not including the day of service. If you fail to do so, a

judgment by default may be taken against you for the relief demanded in the Complaint.
JIMMY MOORE, Clerk

KENNY ARMSTRONG, Clerk & Master

: S o |
TESTED AND ISSUED 4 -o , 20 By_& D.C.
TO THE DEFENDANT(S):

NOTICE: Pursuant to Chapter 919 of the Public Acts of 1980, you are hereby given the following notice:

Tennessee law provides a four thousand dollar ($4,000) personal property exemption from execution or seizure to satisfy a judgment. If
a judgment should be entered against you in this action and you wish to claim property as exempt, you must file a written list, under oath,
of the items you wish to claim as exempt with the Clerk of the Court. The list may be filed at any time and may be changed by you
thereafter as necessary, however, unless it is filed before the judgment becomes final, it will not be effective as to any execution or
garnishment issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed. These

include items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles necessary to contain
such apparel, family portraits, the family Bible and school books. Should any of these items be seized, you would have the right to
recover them. If you do not understand your exemption right or how to exercise it, you may wish to seek the counsel of a lawyer.

COST BOND

I hereby acknowledge and bind myself for the prosecution of this action and payment of all costs not to exceed $500.00 m
this court which may at any time be adjudged against the plaintiff in the event said plaintiff shall not pay the same.

 

 

 

 

 

Witness My Hand this day of ,20
Certification when applicable
Surety
I, KENNY ARMSTRONG, Clerk & Master . MOORE, Clerk of the Circuit
of the Chancery Court, Shelby County, wy yaa ourt, Shelby County, Tennessee, certify
Tennessee, certify this to be a true and S 39 \ 4 aN \\this to be g true apd accurate copy as filed
accurate copy as filed this aide S doe
KENNY ARMSTRONG, Clerk & Master yy 2 aot MOORE, Clerk
By: , DC. ue ere By: , D.C.
ae Vaasa ‘3
ot XS ° “s 7 A\ a) 4 ror
pene EXHIBIT From

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Case 2:07-cv-02698-SHM-tmp Document 1-2 Filed 10/31/07 Page2of14 PagelD 29

RETURN ON SERVICE OF SEMMQaS
I HEREBY CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS:

By delivering on the day of , 20 at M.
a copy of the summons and a copy of the Complaint to the following defendents

 

. Mark Luttrell, Sheriff

 

 

 

 

 

 

 

 

 

By .
Deputy Sheriff
- PRIVATE PROCESS SERVER
- ~on--» —THEREB Y-CERTIFY THAT I HAVE SERVED THE WITHIN SUMMONS: . oo. <5 20-02 ccc eee cnn ee ee nent
By delivering on the day of , 20 at M. a copy of the
summons and a copy of the Complaint to the following defendants ~
(PLEASE PRINT THE FOLLOWING)
Private Process Server Address
Phone
Cc
ompany : Signature
Other manner of service:

 

 

 

| hereby certify that | have NOT served this Summons on the within named defendant(s)

 

is / are not to be found in this County for the

 

because
following reason(s):

 

 

Mark Luttrell, Sheriff

 

This day of , 20 . By
Deputy Sheriff

PLAINTIFF

IN THE
(CHANCERY/CIRCUIT)
COURT
OF TENNESSEE
FOR THE THIRTIETH
JUDICIAL DISTRICT AT MEMPHIS

 

 

 

SUMMONS IN CIVIL ACTIONS
; NS.
Valero Energy Corp., TPI Petroleum,

 

Premier Oil Company, LLC

Attorney for Plaintiff

Alice C. Allen

 

 

 

 

 

 

 

 

 

 

 

Came to hand

Tel. No,

Back

 

NO.
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IN THE CIRCUIT COURT OF SHELBY COUNTY, TENNESSEE
FOR THE TE Cte DISTRICT AT MEMPHIS

ALICE C. ALLEN,

ft oot YAS)
ne

Jury Demanded

 

VALERO ENERGY CORPORATION,

TPI PETROLEUM, INC., MICHIGAN

REUTILIZATION, LLC, and PREMIER

OIL COMPANY, LLC, I, ” wa ey Le ee

 

Defendants.

 

COMPLAINT Se Ge |
BY IN
—~_._ (TOAD pe.

 

1. Plaintiff Alice C. Allen (“Lessor”) is a resident of Shelby County, Tennesséé:

 

She is the successor in interest to Virginia Cartwright, the Lessor pursuant to the Lease
Agreement dated 16 January, 1975 with the Defendant Vickers Petroleum Corporation (herein
the “Lease”). A copy of the Lease is attached as Exhibit A to this Complaint. The Lease had an
original term of twenty-five (25) years ending on the 308 day of September 1990, and the Lease
was automatically extended and renewed for three (3) successive renewal terms of five (5) years
each to the 30" day of September 2005.

2. Vickers Petroleum Corporation was merged into Total Petroleum, Inc., a
Michigan corporation, and Total Petroleum, Inc. was the surviving corporation.

3. Total Petroleum, Inc. also known as TPI Petroleum, Inc. was acquired by

Ultramar Diamond Shamrock Corporation on or about September 25, 1997,
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4, On or about December 31, 2001, Ultramar Diamond Shamrock Corporation was
merged into Valero Energy Corporation, a Delaware corporation. Valero Energy Corporation
dominates and controls TPI Petroleum, Inc. and Michigan Reutilization, LLC, to the harm of
Plaintiff as set forth herein, and is the successor to them and the real party in interest.

5. As used herein the term “Lessee” or “Tenant” refers to Vickers Petroleum
Corporation and its successors in interest by merger, sublease, assignment or otherwise.

6. The Defendant TPI Petroleum, Inc. was from time to time the Tenant or a
subtenant of the premises. On or about January 1, 2006, TPI Petroleum, Inc. was merged into
Michigan Reutilization, LLC whose address is One Valero Way, San Antonio, Texas 78249.

7. The Defendant The Market Group, LLC was from time to time a subtenant. On
information and belief, it was merged into Premier Oil Company, LLC a Tennessee limited
liability company with offices and principal place of business in Memphis, Shelby County,
Tennessee. “Market Operations Group” is another name used by The Market Group, LLC.

8. From time to time the Tenant subleased the property. The Plaintiff-Landlord was
not provided with copies of the subleases. However, at various times, each of the Defendants
represented that they were responsible for paying rent to the Landlord and/or otherwise
confirmed their responsibility for the leased premises. Landlord relied on those representations
and Defendants are estopped to deny their responsibility to perform the lease and to lawfully use
and occupy the premises.

9. The Tenant and subtenants were required to surrender the premises to Plaintiff-

Lessor on September 30, 2005 in as good condition as the premises were in at the

commencement of the Lease on January 16, 1975 except for reasonable wear and tear. This duty

was violated.
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10. The Tenant and subtenants were required, under the terms of the Lease, at their
own cost and expense, to keep and maintain the premises in good condition, including any
improvements thereon.

11. The Tenant and/or its subtenant(s) installed underground gasoline storage tanks
on the premises and failed to maintain the underground gasoline storage tanks in good condition.

12. The Plaintiff Landlord reached an agreement with Independent Bank for the Bank
to lease the major part of the premises to commence at the expiration of the Lease. However,
petroleum contamination was discovered to be emanating from the onsite underground gasoline
storage tanks. That constitutes a nuisance and unlawful condition which is continuing.
Defendants left the defective underground gasoline storage tanks on the premises, and the
Defendants willfully refused to remedy the situation. This prevented the consummation of the
proposed lease with Independent Bank, to Plaintiff’s substantial harm.

13. The Defendants were placed on notice of the situation, including the desire of the
Landlord to lease to Independent Bank, and demand was made that they remove and dispose of
the underground storage tanks. However, they willfully and unfairly refused to do so in violation
of the Lease, and in violation of state and federal environmental laws.

14. The Lease provides that the Tenant shall comply with all applicable laws and
ordinances relating to health and nuisance arising out of Lessee’s manner of occupancy of said
premises. The Defendants have breached the Lease in this regard, and in failing to return the
premises to the Landlord at the termination of the Lease in as good condition as required by the
Lease.

15.  Asaresult of the wrongdoing of the Defendants, the Landlord has suffered

damages including but not limited to: inability to receive rents from new tenants, such as
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Independent Bank; incurred engineering, legal and other professional fees and costs in dealing
with the environmental condition due to the Defendants’ defaults and breaches; and has incurred
and is incurring out-of-pocket expenses to remedy conditions on the premises that should have
been remedied by the Defendants. The Tenant and subtenants promised to hold Lessor harmless
at all times from damage or injury to the property. This duty was violated.

16. The Defendants have willfully and unfairly prevented the leasing of the premises
to Independent Bank, they have interfered with Landlord’s prospective advantage, they have
willfully, unfairly and deceptively kept Plaintiff in the dark and in a state of ignorance
concerning the shifting of responsibility between and among the Defendants, they have willfully
and unfairly refused to remedy their continuing violation of environmental laws, they have
willfully and unfairly created and maintained a nuisance on the property, and they have willfully
and unfairly imposed on Plaintiff the burden of dealing with their violations of environmental
law. Their actions constitute unfair acts and practices effecting the conduct of trade or business
in violation of T.C.A. §47-18-101 et seq., including but not limited to TCA 47-18-104(a),
entitling the Plaintiff to treble damages and attorney’s fees as provided in T.C.A. §47-18-109,
The Plaintiff is also entitled to recover its losses and its professional fees, including both
engineering and attorney’s fees, pursuant to the terms of the Lease.

17. The damages of Landlord are continuing. They include taxes that should have
been paid by Lessee, the cost and expense of repairs, maintenance, environmental fees and lost
rental of $6000 per month from the end of the Lease on September 30, 2005, plus prejudgment
interest of 10% per annum. Single damages exceed $150,000.00 and are continuing.

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays:

1, That a jury be impaneled to try this case;
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2.

3.

For judgment against Defendants for the single damages suffered by the Plaintiff;

For judgment for treble damages pursuant to T.C.A.§47-15-101 et seq. (including

subsections 104(b) and 109);

4,

5.

For recovery of attorney’s fees, costs and expenses; and

For such other relief as may be appropriate in the premises.
Respectfully submitted,
Evans & Petree PC

McQuiston, IT (BPR #7806)
0 Ridgeway Loop Road, Suite 200
Memphis, Tennessee 38120
(901) 525-6781

 
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LEASE AGREEMENT
PLEASE

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EASE A Beas is made this lé day of January, 1975, _

between Mie a aeheiees ent, a femme sole, whose address is urs South (a2, W

Perkins Road, Memphis, Tennessee 38117, jointly and severally, hereinafter INITIAL,

called Lessor, and VICKERS PETROLEUM CORPORATION, a Kansas corporation, 125

North Market, Post Office Box 22h0, Wichita, Kansas 67201, hereinafter

called Lessee.

1. . Lessor does hereby demise and lease unto Lessee and Lessee
does hereby hire and take all that certain parcel of land situated at the
southeast corner of Poplar Avenue and Germantown Road, having a frontage
of 200 feet on Poplar Avenue and a frontage of 286.7 feet on Germantown
Road, in Germantown, Shelby County, Tennessee, together with any improvements
and equipment thereon and together with all appurtenances thereto and all
the right, title and interest of Lessor in and to land lying in all streets,
highways and rights of way abutting on or appurtenant to said premises, all
of said leased property being hereinafter referred to as the premises,

The premises are more particularly described as follows: Part of
the Jere L. Crook 4.59 acre tract located at the Southeast corner.of German-
town Road and U.S, Highway 72 and more particularly described as follows:
beginning at the intersection of the east line of Germantown Road with the
south line of U.S. Highway 72; and running thence on a magnetic bearing of
South 63 degrees OO minutes East along the south line of U.S. Highway 72 a
distance of 200 feet to the northwest corner of the property now or formerly
owned by Frances G. Hickman and sister Jane A. Hickman, as described in Book
1967, Page 444, Shelby County Register's Office, thence South 27 degrees 00
minutes west along the westerly line of said Hickman property 244.38 feet to
a corner of said Hickman property; thence North 78 degrees 42 minutes West
along Hickman's line 145.46 feet to a point in the east line of Germantown
Road; thence North 11 degrees 48 minutes East along the east line of Germantown
Road 3.30 feet to an angle point; thence North 15 degrees 06 minutes Fast
continuing along the east line of Germantown Road 286.70 feet to the point of
beginning, and containing 45,512 square feet.

It is widerstood that Lessee initially intends to lease this property
for the construction and operation of a gasoline service station and related
facilities. If (a) Lessee is unable to obtain zoning of the above property for
& gasoline service station and related facilities, or (b) there is any public
or private restriction, whether by way of plat, deed, easement or otherwise,
prohibiting or making impractical the construction or operation of a service
station and related facilities on-the property in accordance with Lessee's
plans and specifications (including signs and curb cuts), or (c) Lessee is
unable to obtain all permits for such construction and operation, or (a) the
cost of any necessary site preparation ‘to make the property suitable for such
use shall exceed an aggregate of $2,000.00, or (e) there is any encumbrance or
defect or exception to Lessor's title, as reflected by a title report or title
binder, which Lessor does not remove within thirty (30) days, or (f) if the
Federal Energy Administration does not allocate to lessee at this site a base
period supply volume satisfactory to Lessee, then this lease may be cancelled
by Lessee giving Lessor ten (10) days' written notice of Lessee's intention to
cancel, and Lessor shall return or cause to be returned to Lessee any deposit
or other payment made by Lessee. In the event all the above conditions have not
been met or waived within six (6) months of the date this lease is executed by
both parties, either party may cancel this lease upon delivering twenty (20)
days' prior written notice to the other and this Lease Agreement shall be void
on the twentieth (20th) day after the delivery of such notice unless Lessee
waives the remaining conditions prior to said termination date. :

When all the contingencies set forth herein have been satisfied or
waived by Lessee, the parties shall exeeute in recordable form a short form
lease setting forth the correct legal description of the premises, the effec-
tive commencement date of the lease, the original term of the lease, the term
of each renewal option and any further option rights, , fr

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2. The original term of this lease shall commence on the first day
of the month following the day on which all the above contingencies are either
satisfied or waived and shall end on the 30th day of September, 1990. No rent
shall be due from Lessee or accrue unless and until a motor vehicle service
station building with'all necessary driveways has been completely erected and
constructed on the leased premises and the operation thereof commenced or four
months have expired: from the date Lessee was first in, possession of the premises
with all necessary permits, whichever first occurs. If the rental shall be due
‘under this. clause on a day other than the first day of the month, then the rental

shall be prorated for that month,

3. As rental for the use and occupancy of said premises, Lessee
agrees to pay Lessor and Lessor agrees to accept, Two Thousand Dollars ($2,000.00)
per month, payable on the first day of each month for which rental is due for
approximately the first five (5) years of this lease. Said monthly rental shall
be payable in thé following manner: 94% of the amount reserved as rental herein
shall be made payable to the Lessor, her heirs or assigns; and 6% of said amount
shall be made payable to Alan Isaacson Company, Realtor, its successors or assigns,
and both checks shall be forwarded to the Agent named herein. In the event the
rental is adjusted as described below, the same percentages shall apply. Beginning
with the rental due for the month of October, 1980, and for each five (5) year
period thereafter that this lease is in effect, including any extensions or renew-
als thereof, the rental for each five (5) year period shall be recomputed. The
formula of said recomputation is as. follows: the monthly rental for each five (5)
year period as stated above shall be an amount computed by multiplying a fraction
determined. by using the Consumer Price Index for All Items as published by the
Bureau of Labor Statistics of the United States Department of Labor for the
latest month available preceeding the beginning date of such récomputation as
numerator. aid the same Index for January, 1975, as a denominator (using the same
base year for both numerator and denominator ) times the rental of $2,000.00 per
month. If said Index is no longer compiled, then another Index generally recog-
nized as authoritative shall be substituted by agreement; but if the parties do
not’ agree, the substitute Index shal] be selected by a majority determination of
three (3) arbitrators, appointed for the purpose, one being appointed by the
Lessor, one by the Lessee, and a third by the two arbitrators appointed by
‘Lessor and Lessee. mo

4, This. lease shall be automatically extended and renewed for three
successive renewal terms of five (5) years each unless Lessee shall deliver to
Lessor at least sixty (60) days prior to the expiration of the original term or
any renewal term then in effect a notice that this lease will terminate at the
expiration of the term then in effect... Said extensions shall be upon the same
-terms and conditions as under the original term except for rent as provided for
in the paragraph above, , ,

3. . Lessee shall pay the rent as aforesaid, and all charges for water,
gas, and electricity supplied to it, and at the expiration or other termination
of this lease, or any renewal. or extension thereof, quit and surrender said prem-
ises to Lessor in as good condition as the same now are, except for such changes,
alterations and additions as are hereinafter required or permitted to be made by
Lessee or Lessor, and reasonable wear and tear dnd damage by fire and the elements.

6. Lessee shall at its own cost and expense keep aid maintain in
good condition the premises, including any improvements thereon.

7. Lessee shall comply with all applicable laws and ordinances
relating to health, nuisance and fire arising out of Lessee's manner of occupancy
of said premises during said term. .

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8. Lessee shall hold Lessor harmless at all times during the term
of this lease, or any extension or renewal thereof, upon claims or damage or
injury to persons or property as a result of anything occurring on or about
the leased premises.

9. As additional rent for said premises, the Lessee covenants and
agrees to pay and discharge from time to time, within the time required by law,
throughout the entire term of this lease, plus options if exercised, the aimount
of all general and special taxes of all kinds, and all charges and assessments,
general or special, by whomscever lawfully imposed, on such real estate or. the
improvements thereon. Lessor hereby agrees that Lessee, in the name of Lessor,
but at Lessee's sole expense, may protest any assessment before any taxing.
authority or board or maintain any necessary.legal action in reference to said
assessment or for the recovery.of any taxes paid thereon. All taxes and assess-
ments, which Lessee covenants and agrees to pay pursuant to this lease and: that
are not paid when due, may be paid by Lessor. Any amount so paid by Lessor will
be due and payable by Lessee on demand by Lessor and shall include the amount
paid by Lessor, any penalties imposed by the governmental bodies; a reasonable
attorney's fee, and interest on said amount at the rate of ten percent (10%)
per annum. ” a

LO. | Lessee shall at all-times during the term of this lease, at its
own cost and expense, keep all buildings on the leased premises insured in a
responsible insurance company against loss by fire and other damage within the
extended coverage endorsement for not less than their full and insurable value
above foundations, and will keep all such insurance in full force and effect
during the term of this lease or any. yenewal thereof. If any or all of the
buildings and other improvements on the premises shall be damaged or destroyed
by fire or other cause, Lessee shall be entitled to the entire insurance proceeds,
but there shall-be no abatement whatsoever of any rent.

; il. Lessee may erect and install on the premises such buildings,

. improvements and equipment as it may desire, and may demolish, remove or rebuild
any building or other improvement now on said property. Lessee may install
gasoline tanks and underground equipment on, and may cut curbs, construct,
maintain and use driveways over, upon and across the premises. In the event
Lessee constructs a new service station building on the premises, such building

’ . shall be and become a part of the real estate and shall not be removable by
lessee at the termination of this lease. All other improvements (except paving),
equipment, signs, pumps, tanks, advertising devices and other property constructed
or installed on said premises by Lessee shall at all times remain the personal
property of Lessee and in no sense fixtures or part of the real estate, and
Lessee stall have. the right at any time during the term of this lease or any
extension thereof or within thirty (30) days after the termination of this lease
to remove the same Gr any part thereof from said premises,

ia. If at any time during the term of this lease or any renewal or
extension thereof, Lessee or any of its subtenants are unable to obtain any
license or permit required by law or municipal ordinance for the operation of
a retail gasoline service station as installed and licensed at the inception of
this lease, or if the Lessee or any of its subtenants shall be unable to obtain
the renewal of any such license or permit which may have been granted for such
purpose, or if Lessee is prevented by operation of law or enjoined from using
said premises or any part thereof for. the storage of gasoline and other petrol-
eum products or by-products or other motor fuel for the operation of a retail

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gasoline service station as heretofore described. Lessee shall have the right, INITI
at its option, to terminate this lease on not lees than thirty (30) days' notice

to Lessor. . :

13. . No real property which is not presently used for the retail
sale of automotive fuel and lubricants and which is located within 1,000 feet
of the premises and either now or subsequently, directly or indirectly, owned,
leased or controlled by Lessor shall be developed or used, in whole or in part,
for the retail sale of automotive fuel and lubricants, provided, however, that

this provision shall not apply to the premises. This covenant shall be deemed

and construed as a covenant running with the land in favor. of Lessee, its
successors or assigns. Any deed or other instrument. with respect to any interest

_of Lessor within said area delivered to any other person shall contain a

‘as aforesaid.

restriction of said property for the same period.

14, If the whole or any part of the leased premises or any interest
therein is taken or condemned under the power of eminent domain, or any similar
legal power, or conveyed in lieu of such taking or condemnation, with the
exception of the areas mentioned in the following paragraph, and as a result
thereof the use and enjoyment by the Lessee of the leased premises is substan- -
tially impaired, the Lessee may, at its option but without prejudice to any
rights and claims which it may otherwise have on account of such taking, -con«
demnation or caveyance, (a) terminate and cancel this lease, or (b) if the
taking be partial, remain in possession of the remaining portion of the premises:
in which event the rent. herein reserved shall be decreased in proportion to
the amount or portion of such premises as shall be taken, condemned or conveyed

It is understood and agreed by the parties hereto that the City of
Germantown has proposed to Lessor to take a strip of land as delineated in-
two Right of Way Acquisition Plats dated 6/25/74, job number 16103053, along
Germantown Road for the widening of Germantown Road, and, if this land is taken,
it shall have no effect whatsoever on this lease: and is excepted from the
receding paragraph. If a portion of the leased premises along U.S. Highway 72
tPoplar Pike) is taken for the widening of said highway and such portion is
twenty (20) feet or less in width as measured perpendicularly. to said highway,
then.the rent reserved herein shall be decreased in proportion to the amount or
portion of such premises as. shall be taken, condemned or conveyed, but Lessee
shall have ho right. to cancel and terminate the lease. All compensation for the .
proposed taking described in this paragraph shall be for the benefit of Lessor
with the exception of actual expense incurred by Lessee resulting from such
taking. . : , -

_ 5. If Lessee shall fail to pay any installment of rent when same is
due and payable, as herein provided, or shall fail in the performance of any of
the covenants, agreements, terms or conditions of this lease by Lessee to be
performed, observed or complied with; or if Lessee shall vacate the leased
premises, then and.in any such event, if such default or condition shall continue
for more than thirty (30) days after written notice from Lessor to Lessee
specifying the rent due or the other matter or thing by which Lessor claims
Lessee is in default without Lessee paying the rent or having in good faith
promptly commenced action to rectify said default and prosecute said action to
completion with diligence, Lessor may declare this lease terminated and there-
upon Lessor may reenter the leased premises without further notice or demand
without being in any manner liable therefor, and Lessor may hold the. leased
Premises free from any further liability.on the part of the Lessor hereunder,
or Lessor may enter the leased premises as aforesaid and, as agent of Lessee,
re-let the same for the balance of the term of this lease, or for a shorter
or longer term, and may receive the rent therefor, applying the same, first to
the payment of the expense of such reletting, and second to the payment of rent
due and to become due by these presents, Lessee remaining liable for and agree-
ing hereby to pay any deficiency. The filing of any petition in bankruptcy or
insolvency, or for reorganization under the Bankruptcy Act, either by or against
Lessee, or an assignment for the benefit of creditors by Lessee, shall constitute

“a breach of this lease, and Lessor shall forthwith on guch breach be entitled to

collect damages therefor as provided by law, and in addition thereto, Lessor shall
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have the rights of termination and re-entry as hereinabove set forth. Lessee
expressly waives the benefit of any provision of law now in force or hereafter
enacted giving or reserving to Lessee, or to any person claiming under or through
Lessee, any right to the redemption or the repossession of the leased premises,
or any part thereof, after the termination of this lease by declaration or re~
entry by Lessor as hereinabove provided. Any such termination of this lease
Likewise shall terminate any and all options granted Lessee.

: 16. Lessee shall not suffer or permit mechanic's liens to be filed
against the fee of the premises nor against the Lessee's leasehold interest in
said premises by reason of work, labor, services or materials supplied or
claimed to have been supplied to the Lessee or anyone holding the premises or
any part thereof through or under the Lessee, and nothing in this lease contain-
ed shall be deemed or construed in any way as constituting the consent or request

. of the Lessor, expressed or implied, by inference or otherwise, to any contractor,

subcontractor, Laborer or meterialman for the performance of any Labor or the
furnishing of any materials for any specific improvement, alteration or repair
of or to the leased premises or any part thereof.

if, whenever and as often as any mechanic's or other similar lien is
filed against the property hereby leased, or any part thereof, purporting to be
for or on account of any labor done or materials or services furnished in connec-
tion with any work in or about the leased premises, done by, for or under the
authority of Lessee or anyone claiming by, through or under it, Lessee shall
either discharge the same of record within ten (10) days after Lessor notifies
Lessee in writing of the filing of such lien or shall within said ten (10) days
deposit with a title insurance company doing business in the city where the
premises is located; an amount equal to the amount of said lien, plus twenty
percent (20%) thereof, with irrevocable instructions to it to apply said sum in
satisfaction of a final judgment upholding said lien or to return said sum to
lessee in the event said lien shall be discharged; and upon compliance with the
provisions of this sentence, Lessee shall be deemed not to be in default here-

“under by reason of any mechanic's lien being filed against the property hereby

leased.

: 17. Any notice from one party to the other hereunder shall be in
writing and shall be deemed to have been duly given. if delivered personally,

or mailed, enclosed in a registered or certified postpaid envelope, addressed

to the party to be, notified at such party's address as shown above in this lease,
with a copy to be sent to Alan Isaacson Company, Realtor, 3254 Winbrook Drive,
Memphis, Tennessee 38116. Either Lessor, Lessee or Agent may at any time change
such address by delivering or mailing, as aforesaid, notice at least ten (10)
days previously stating the change. : :

. 18. Lessor warrants. that Lessor alone has. good and merchantable
fee simple title to the. leased premises free and clear of any liens or encun-
brances, has the right to lease the property hereby lease free and clear of any
liens or encumbrances. Lessor warrants and agrees to defend the title thereto,
and to reimburse and hold Lessee harmless from all damages and expenses which
Lessee may suffer’ by reason of any encumbrance, defect or restriction in such
title. Lessor shall put Lessee in actual possession at the beginning of the

‘term of this lease. Lessee -shall have the right to assign or sublet said prem-

*

ises, or any part thereof, but such assignment or subletting shall not relieve

‘“ Lessee or its obligations under this lease. Lessor covenants that Lessee, upon

the payment of the rent and the performance of its covenants herein contained,
shall and may peaceably and quietly have, hold and enjoy said premises during
the term hereof and any renewal or extension thereof,

19. If Lessee continues in possession of the premises after the

expiration of.this lease, or any extension or renewal thereof, without having

renewed the sane or without having entered into a new lease, Lessee shall there-
after be deemed.to be a tenant from month te month on all of the terms and con-
ditions set forth in this lease as modified except as to the duration thereof,

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he

20. This lease was negotiated by Alan Isaacsa Company, Realtor,
acting as Agent for the Lessor, and Lessor agrees to pay Alan Isaacson Company,
Realtor,its successors or assigns, the usual commission of the first month's
rent of the term reserved herein, plus six percent (6%) of subsequent rentals
for services in negotiating this lease; also.to pay Alan Isaacson Company, Real-
tor, its successors or assigns,.the said usual commission for any lease exten~
sion or renewal that may be entered into by Lessor with Lessee, or by or with
their respective heirs, successors, or assigns, covering the within leased
premises, Also, the Lessor or its successor in title agrees to pay Alan Isaac-~-
son, Realtor, its successors. or assigns, a sales commission of six percent (6%)
of the total sales price if the within described premises are sold to Lessee,
or his successors or ‘assigns, during the original or any extended or renewed
term of the lease.

21... The covenants and agreements contained in this lease are binding
upon and shall inure to the benefit of Lessor and Lessee and their respective
heirs, legal representatives, successors and assigns, and if there be more than
one person named as Lessor, each of the covenants and agreements of Lessor shall
be deemed joint and several,

 

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: LEQSOR
f —*SMIECKERS PETROLEUM CORPORATION

Va i President — my?

  

Secretary”

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Mele
STATE OF TENNESSEE
. 88.
COUNTY OF SHELBY  ) oe |
On this _Lb7F aay of January, 1975, before me personally appeared
ws UR 5 0 ene ato JE ,bpe person who executed
_the ‘foregoing. ‘instrument in mite of a artwright and acknowledged .
‘that he executed the same as | the free act and deed of said Mrs Ve Cartwright.
REIN ae ne
WITNESS my hand and Notarial Seal. subscribed and affixed in said State
and County,. ‘the. aay and ‘year. in this certificate above written.
mo Notary Public
My commission expires? ey 1 11 :
STATE OF ¢ _Kestsas )
- COUNTY oF Sepawitke Sepawic § ™
On this Tru day of --; af. _., 1975, before me, the
undersigned, Jotary Public in and for said State and Coulty; personally
appeared .. ad. : » to me sonally known,
who being by. me duly sworn did say that he is LLGE. LES DEM.
. of the Vickers Petroleum Corporation, Lessee in the foregoing lease, and that
. the seal thereto affixed is the corporate seal of said corporation by authority
of its Board.of Directors and said acknowledged
said lease to be the free act and deed of said corporation. |
‘ - WETNESS fay hand and Notarial Seal. ‘subscribed and affixed in said State
and County, ‘the oy and year: in this certificate above written,
| . Notery Public
Sy 9.8 A Bley . . | . . . .
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